      Case 3:20-cr-00070-TKW     Document 37     Filed 12/03/20   Page 1 of 2



                                                                          Page 1 of 2

              UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                   Case No. 3:20cr70/TKW

MILTON C. PRUITT
_____________________________/

                    REPORT AND RECOMMENDATION
                     CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Counts One, Two, and Three of the

Indictment. After cautioning and examining the Defendant under oath concerning

each of the subjects mentioned in Rule 11, I determined the guilty plea was knowing

and voluntary and the offense charged is supported by an independent basis in fact

containing each of the essential elements thereof. I therefore recommend the plea

of guilty be accepted and the Defendant be adjudicated guilty and have sentence

imposed accordingly.

      Dated: December 3, 2020.

                               /s/ Elizabeth M. Timothy
                               ELIZABETH M. TIMOTHY
                               CHIEF UNITED STATES MAGISTRATE JUDGE
       Case 3:20-cr-00070-TKW   Document 37     Filed 12/03/20   Page 2 of 2



                                                                         Page 2 of 2

                         NOTICE TO THE PARTIES

      Objections to these proposed findings and recommendations may be filed
within twenty-four hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only and does not control. A copy of objections must be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge’s findings or recommendations contained in a report and
recommendation in accordance with the provisions of 28 U.S.C. § 636(b)(1)
waives the right to challenge on appeal the district court’s order based on
unobjected-to factual and legal conclusions. See U.S. Ct. of App. 11th Cir.
Rule 3-1; 28 U.S.C. § 636.




Case No.: 3:20cr70/TKW
